                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

HANG LOOSE BANDS LLC,
              Plaintiff,                       CASE NO. 3:20-cv-1322
       v.
SHAKA BANDS LLC,

              Defendant.


                                   COMPLAINT

       For its Complaint against Defendant Shaka Bands LLC (“Defendant” or

“Shaka Bands”), Plaintiff Hang Loose Bands LLC (“Hang Loose Bands”), states

and alleges as follows:

                           NATURE OF THE ACTION

       1.     This is a civil action for trademark infringement and unfair

competition arising under federal, state, and common law. Hang Loose Bands

brings this action because Defendant is unlawfully marketing, selling, and

distributing knock-off stretch bands and bracelets in violation of Hang Loose Bands’

trademark rights. Hang Loose Bands seeks to enjoin Defendant’s wrongful acts, to

recover damages and Defendant’s profits (in amounts to be increased), and to secure

other relief, including attorneys’ fees and costs.
                                 THE PARTIES

       2.     Plaintiff Hang Loose Bands LLC is a Kentucky limited liability

company with a principal place of business at 1204 1st Street, Neptune Beach,

Florida 32266.

       3.     Defendant Shaka Bands LLC is a Florida limited liability company

with a principal place of business at 327 10th Street, Atlantic Beach, Florida 32233.

       4.     Defendant’s registered agent is Michael P. Tyson, an individual

located at 5150 Belfort Rd., Bldg. 200, Jacksonville, Florida 32256.

                         JURISDICTION AND VENUE

       5.     This action arises under the federal Trademark Act, 15 U.S.C.

§§ 1051, et seq. (the “Lanham Act”), and under the related law of the state of

Florida.

       6.     This Court has jurisdiction over the subject matter of this action

pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1338(a) and (b), and supplemental

subject matter jurisdiction pursuant to 28 U.S.C. § 1367. Pursuant to 28 U.S.C.

§ 1367, this Court has supplemental jurisdiction over Hang Loose Bands’ state law

claims because those claims are substantially related to Hang Loose Bands’ federal

claims under the Lanham Act.

       7.     This Court has personal jurisdiction over Defendant, and venue is

proper in the Middle District of Florida pursuant to 28 U.S.C. §§ 1391(b) and (c).




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Defendant resides and is doing business in this District, and a substantial portion of

Defendant’s unlawful activities has taken place in this District.

      HANG LOOSE BANDS AND ITS PRODUCTS AND SERVICES

       8.     Hang Loose Bands manufactures and sells stretch bands, including

wristbands, bracelets, knotbands, and ringbands.

       9.     Hang Loose Bands has enjoyed substantial sales since commencing

operations.

       10.    Hang Loose Bands distributes and sells online through its ecommerce

website located at <hangloosebands.com>, its Etsy shop, and Amazon.com.

       11.    Hang Loose Bands distributes and sells in-person through its pop-up

shops, including those located at various music festivals and other outdoor festivals

and events.

       12.    Hang Loose Bands distributes its products through in-person retailers.

       13.    In particular, given its target consumer, intends to distribute its

products through surf shops and other in-person retailers located near various surf

destinations, including those in and around Jacksonville, Florida.

       14.    Hang Loose Bands has made a substantial investment in advertising,

marketing, and promoting its products in connection with its federally registered

and common law trademarks through various media.




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      15.    The Hang Loose Bands products copied by Defendant include the

models shown below:




                  HANG LOOSE BANDS’ TRADEMARKS

      16.    Hang Loose Bands has continuously used HANG LOOSE BANDS as

a trade name and trademark since January 28, 2020.



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       17.       Hang Loose Bands has continuously used the following distinctive

trademark (“Hang Loose Mark”) since January 28, 2020:




       18.       Hang Loose Bands owns a registration in the United States for its

Hang Loose Mark:


      TM/AN/RN/Disclaimer           Full                  Status/Key Dates
                                    Goods/Services
      Design Only                   (Int'l Class: 14)     Registered, September
                                    Bracelets; Jewelry;   15, 2020
                                    Rings                 Int'l Class: 14
                                                          First Use: January 28,
                                                          2020
                                                          Filed: November 18,
      RN: 6155188                                         2019
      SN: 88696656                                        Registered: September
                                                          15, 2020

(Printouts of the registration certificate and status report from the United States

Patent and Trademark Office online database are attached as Exhibit A.)

       19.       Hang Loose Bands filed its Federal trademark application for the

Hang Loose Mark, U.S. Serial No. 88696656, on November 18, 2019 based on

intent to use.




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       20.    U.S. Serial No. 88696656 matured to registration on September 15,

2020 as U.S. Registration No. 6155188 and, as a result, Hang Loose Bands’

nationwide priority date in the Hang Loose Mark is November 18, 2019, the filing

date for U.S. Serial No. 88696656.

       21.    U.S. Registration No. 6155188 listed above is valid and subsisting.

U.S. Registration No. 6155188 constitutes, in all instances, prima facie evidence of

the validity of the Hang Loose Mark, Hang Loose Bands’ ownership of the Hang

Loose Mark, and Hang Loose Bands’ exclusive right to use the Hang Loose Mark

in connection with the goods recited in this registration.

       22.    Hang Loose Bands’ products bear a distinctive appearance consisting

of a stretch band in a bright color or graphic print overlaid in one place with a black

square of fabric stitched with the Hang Loose Mark in white.

                 DEFENDANT AND ITS WRONGFUL ACTS

       23.    Defendant manufactures and sells stretch bands under the name and

mark, SHAKA BANDS.

       24.    The English translation of “Shaka” is “Hang Loose.”

       25.    Based on information and belief, Shaka Bands commenced its sale of

stretch bands on August 24, 2020, well after Hang Loose Bands first used its HANG

LOOSE BANDS mark and Hang Loose Mark in connection with its products.




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       26.    Defendant distributes and sells its stretch bands online through its

ecommerce website located at <shakabands.com>. (A copy of Defendant’s online

order form and available products are attached as Exhibit B).

       27.    Defendant distributes its products through in-person retailers.

       28.    In particular, Defendant distributes its products through surf shops

located in and around Jacksonville, Florida.

       29.    Defendant promotes its stretch bands on its website, Instagram, and

Facebook. (Representative printouts from Defendant’s website and social media

accounts are attached as Exhibit C).

       30.    Defendant uses the hand symbol shown below in its promotions and

on its products:




       31.    Defendant’s stretch bands are manufactured with a color or graphic

print overlaid in one place with a black square of fabric stitched with the hand

symbol in a light grey color that appears white from distance.




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       32.    Over one month ago, Hang Loose Bands learned that Defendant was

marketing, selling, and distributing knock-off products that mimic Hang Loose

Bands’ genuine wristbands and bear a hand symbol confusingly similar to the Hang

Loose Mark overlaid in one place with a black square of fabric stitched with the

hand symbol in in a light grey color that appears white from distance.

       33.    Further, Defendant’s name, Shaka Bands, has a meaning that is

identical to Hang Loose Bands.

       34.    On October 5, 2020, counsel for Hang Loose Bands sent Defendant a

cease-and-desist letter demanding that it stop manufacturing, distributing,

advertising, and selling the knock-off products; provide a full accounting of its sales

and remaining inventory of the infringing products; deliver-up the infringing

products for destruction; execute a declaration that the items delivered-up constitute

the remaining inventory; and disgorge and pay to Hang Loose Bands the entirety of

the revenue generated from the sale of the infringing products. (A copy of the letter

is attached as Exhibit D.)

       35.    Neither Defendant nor Defendant’s counsel has responded to the letter

described above.

       36.    Defendant is not now, and never has been, authorized or licensed by

Hang Loose Bands to engage in any of the complained-of-activities.




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         37.     The actions of Defendant described above have at all times been

willful and/or knowing.

         38.     Without limiting the generality of the foregoing, Defendant has

continued the promotion and sale of its knock-off products after receiving Hang

Loose Bands’ cease-and-desist letter.

               INJURY TO HANG LOOSE BANDS AND THE PUBLIC

         39.     Defendant’s actions are likely to cause confusion, mistake, and

deception as to the source or origin of Defendant’s infringing products, and are

likely to falsely suggest a sponsorship, connection, license, or association between

Defendant and/or its products with Hang Loose Bands, thereby injuring Hang Loose

Bands and the public.

         40.     Defendant’s activities have caused, and unless enjoined will continue

to cause, irreparable harm to Hang Loose Bands and its trademarks, as described

above.

         41.     Defendant’s activities have caused, and unless enjoined will continue

to cause, irreparable harm to both Hang Loose Bands and consumers, who have an

interest in being free from confusion, mistake, and deception.

         42.     Hang Loose Bands has suffered actual damages to be proven at trial.

         43.     Hang Loose Bands has no adequate remedy at law.




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                        FIRST CLAIM FOR RELIEF:
                   Federal Trademark Infringement Under
             Section 32(1) of The Lanham Act, 15 U.S.C. § 1114(1)

       44.    Hang Loose Bands repeats and realleges each and every allegation set

forth in paragraphs 1 through 43 of this Complaint.

       45.    Defendant uses in commerce reproductions, copies, and colorable

imitations of Hang Loose Bands’ registered trademarks (described above) in

connection with the sale, offering for sale, distribution, and advertising of goods,

which use is likely to cause confusion, or to cause mistake, or to deceive, in violation

of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

                     SECOND CLAIM FOR RELIEF:
                  Federal Trademark Infringement, False
       Designation Of Origin, Passing Off, and Unfair Competition
   Under Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

       46.    Hang Loose Bands repeats and realleges each and every allegation set

forth in paragraphs 1 through 43 and 45 of this Complaint.

       47.    Defendant uses in commerce a word, term, name, and false

designation of origin that, in connection with its commercial activities, is likely to

cause confusion, or to cause mistake, or to deceive as to the affiliation, connection,

or association of Defendant with Hang Loose Bands, or as to the origin, sponsorship,

or approval of Defendant, its products, and its commercial activities by or with Hang

Loose Bands, in violation of Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C.

§ 1125(a)(1)(A).




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                       THIRD CLAIM FOR RELIEF:
              Unfair Competition and False Advertising Under
  Florida’s Deceptive and Unfair Practices Act, Fla. Stat. §§ 501.201, et seq.

       48.    Hang Loose Bands repeats and realleges each and every allegation set

forth in paragraphs 1 through 43, 45, and 47 of this Complaint.

       49.    In connection with the sale and distribution of the infringing products,

Defendant has engaged in unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or

commerce, in violation of Section 501.201 et. seq. of the Fla. Stat.

                  FOURTH CLAIM FOR RELIEF:
       Common Law Trademark Infringement and Unfair Competition

       50.    Hang Loose Bands repeats and realleges each and every allegation set

forth in paragraphs 1 through 43 of this Complaint.

       51.    Defendant’s activities described above constitute common law

trademark infringement and misappropriation of the goodwill associated with

HANG LOOSE BANDS and Hang Loose Mark trademarks, and constitute unfair

competition in violation of Florida common law.

                              PRAYER FOR RELIEF

       Wherefore, Plaintiff Hang Loose Bands requests that this Court enter

judgment in its favor on each any every claim for relief set forth above and award it

relief including, but not limited to, the following:




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       a)      An Order holding that Defendant’s actions described above infringe

Hang Loose Bands’ HANG LOOSE BANDS mark and Hang Loose Mark, and that

Defendant’s actions constitute federal and state trademark infringement and unfair

competition as detailed above.

       b)      An Order preliminarily and permanently enjoining Defendant, its

employees, agents, officers, directors, shareholders, subsidiaries, related companies,

affiliates, distributors, dealers, and all persons in active concert or participation with

any of them:

               (i)     From using SHAKA BANDS, the hand symbol, or any other
               trademarks, trade names, trade dress, logos, and other names or
               identifiers that are confusingly similar to the HANG LOOSE BANDS
               mark or Hang Loose Mark, in any manner or form, with any products
               or services.

               (ii)   From representing or suggesting, by any means whatsoever,
               directly or indirectly, that Defendant, any product or service offered
               by Defendant, or any activities undertaken by Defendant, are
               sponsored or approved by, or are associated, affiliated, or connected
               with Hang Loose Bands in any way.

       c)      An Order requiring Defendant to deliver up for destruction all

products containing infringing marks, including but not limited to all product and

packaging in its possession, custody, or control, or in the possession, custody, or

control of any of its agents or representatives.

       d)      An Order requiring Defendant to deliver up for destruction all

advertisements, promotional materials, labels, signs, pictures, letterhead, plaques,




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and any other materials containing infringing marks in its possession, custody, or

control, or in the possession, custody, or control of any of its agents or

representatives.

       e)     An Order directing Defendant to disclose the name(s) and address(es)

of the manufacturer of the infringing product and all other sources of the infringing

product.

       f)     An Order directing Defendant to disclose all retailers and/or resellers

to whom Defendant distributed or sold the infringing product.

       g)     An Order directing Defendant to file with this Court and serve on

Hang Loose Bands’ attorneys, thirty (30) days after the date of entry of any

injunction, a report in writing and under oath setting forth in detail the manner and

form in which it has complied with this injunction.

       h)     An Order requiring Defendant to account for and pay to Hang Loose

Bands any and all profits arising from Defendant’s unlawful acts and that such

profits be increased in accordance with 15 U.S.C. § 1117 and other applicable laws.

       i)     An Order requiring Defendant to pay Hang Loose Bands damages in

an amount to be determined, caused by Defendant’s unlawful acts, and that such

damages be trebled in accordance with 15 U.S.C. § 1117 and other applicable laws.




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       j)     An Order requiring Defendant to pay Hang Loose Bands punitive

damages in an amount to be determined due to the foregoing willful acts of

Defendant.

       k)     An Order requiring Defendant to pay Hang Loose Bands its costs and

attorneys’ fees in this action pursuant to 15 U.S.C. § 1117 and other applicable laws.

       l)     Any such other relief as the Court may deem appropriate.


Dated: November 20, 2020                  SMITH HULSEY & BUSEY


                                          By /s/ John R. Thomas
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